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EXHIBIT A>
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
EDWARD HAMBRICK, )
) Case No. 13 C 4420
Plaintiff, )
vs. ) JUDGE MARTIN
)
The City of Chicago Police Department, )
Officer Marco Proano (Star # 9477), )
Officer Fernand Rodriguez (Star # 12986) )
Officer Guy Habiack (Star # 9921) )
Officer Johnson (Star # 17034) )
)
Defendants. )
CONFIDENTIALITY ORDER

 

Defendants, by and through one of their attorneys, Jessica L. Griff, Assistant
Corporation Counsel for the City of Chicago, has moved for the entry of a confidentiality order
pursuant to Fed. R. Civ. P. 26(c) and 45 C.F.R. §§ 160 & 164, and for the reasons set forth in the
record, the Court hereby finds good cause to order the following:

1. Scope. All materials produced or adduced in the course of discovery, including, initial
disclosures, responses to discovery requests, deposition testimony and exhibits, and information
derived directly therefrom (hereinafter collectively "documents"), shall be subject to this Order
concerning Confidential Information as defined below. This Order is subject to the Local Rules
of this District and the Federal Rules of Civil Procedure on matters of procedure and calculation
of time periods.

2. Confidential Information. As used in this Order, "Confidential Information" means
information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by the
producing party that falls within one or more of the following categories: (a) information
protected from disclosure by statute, (b) information that reveals trade secrets; (c) research,

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technical, commercial or financial information that the party has maintained as confidential; (d)
medical information concerning any individual; (e) personal identity information; (f) income tax
returns (including attached schedules and forms), W-2 forms and 1099 forms; (g) personnel or
employment records of a person who is not a party to this case. Information or documents that
are available to the public may not be designated as Confidential Information.

3. Designation.

(a) A party may designate a document as Confidential Information for protection under
this Order by placing or affixing the words "CONFIDENTIAL - SUBJECT TO PROTECTIVE
ORDER" on the document and on all copies in a manner that will not interfere with the legibility
of the document. As used in this Order, "copies" includes electronic images, duplicates, extracts,
summaries or descriptions that contain the Confidential Information. The marking
"CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER" shall be applied prior to or at the
time of the documents are produced or disclosed. Applying the marking "CONFIDENTIAL-
SUBJECT TO PROTECTIVE ORDER" to a document does not mean that the document has any
status or protection by statute or otherwise except to the extent and for the purposes of this
Order. Any copies that are made of any documents marked "CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER" shall also be so marked, except that indices, electronic databases or
lists of documents that do not contain substantial portions or images of the text of marked
documents and do not otherwise disclose the substance of the Confidential Information are not
required to be marked.

(b) The designation of a document as Confidential Information is a certification by an
attorney or a party appearing pro se that the document contains Confidential Information as

defined in this order.
 

 

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(c) Any documents designated “Confidential” shall be deemed Confidential
Information as defined in this order, subject to modification pursuant to Paragraph 18, below.

4. Depositions.

Alternative A. Deposition testimony, including exhibits, is protected by this Order only
if designated as "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" on the record at
the time the testimony is taken. Such designation shall be specific as to the portions that contain
Confidential Information. Deposition testimony or exhibits so designated shall be treated as
Confidential Information protected by this Order. Within fourteen days after delivery of the
transcript, a designating party may serve a Notice of Designation to all parties of record
identifying additional specific portions of the transcript or exhibits that are designated
Confidential Information, and thereafter those additional portions identified in the Notice of
Designation shall also be protected under the terms of this Order. The failure to serve a timely
Notice of Designation waives any designation of additional deposition testimony or exhibits as
Confidential Information, unless otherwise ordered by the Court.

5. Protection of Confidential Material.

(a) General Protections. Confidential Information shall not be used or disclosed by the

parties, counsel for the parties or any other persons identified in subparagraph (b) for any

purpose whatsoever other than in this litigation, including any appeal thereof.

(b) Limited Third-Party Disclosures. The parties and counsel for the parties shall not

disclose or permit the disclosure of any Confidential Information to any third person or

entity except as set-forth in subparagraphs (1)-(9). Subject to these requirements, the

following categories of persons may be allowed to review Confidential Information:
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(1) Counsel. Counsel for the parties and employees of counsel who have
responsibility for the preparation and trial of the action;

(2) Parties. Individual parties and employees of a party but only to the extent
counsel determines in good faith that the employee's assistance is reasonably
necessary to the conduct of the litigation in which the information is disclosed;

(3) The Court and its personnel;

(4) Court Reporters and Recorders. Court reporters and recorders engaged for
depositions;

(5) Contractors. Those persons specifically engaged for the limited purpose of
making copies of documents or organizing or processing documents, including
outside vendors hired to process electronically stored documents;

(6) Consultants and Experts. Consultants, investigators, or experts employed by
the parties or counsel for the parties to assist in the preparation and trial of this
action but only after such persons have completed the certification contained in
Attachment A, Acknowledgment of Understanding and Agreement to Be Bound;
and

(7) Witnesses at depositions. During their depositions, witnesses in this action to
whom disclosure is reasonably necessary. Witnesses shall not retain a copy of
documents containing Confidential Information, except witnesses may receive a
copy of all exhibits marked at their depositions in connection with review of the
transcripts. Pages of transcribed deposition testimony or exhibits to depositions

that are designated as Confidential Information pursuant to the process set out in
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this Order must be separately bound by the court reporter and may not be
disclosed to anyone except as permitted under this Order.

(8) Author or recipient. The author or recipient of the document (not including
the person who received the document in the course of the litigation); and

(9) Others by Consent. Other persons only by written consent of the producing
party or upon order of the Court and on such conditions as may be agreed or
ordered.

(c) Control of Documents. Counsel for the parties shall make reasonable efforts to

prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel shall

maintain the originals of the forms signed by persons acknowledging their obligations
under this Order for a period of three years after the termination of the case.

6. Inadvertent Failure to Designate. An inadvertent failure to designate a document as
Confidential Information does not, standing alone, waive the right to so designate the document,
provided, however, that a failure to serve a timely Notice of Designation of deposition testimony
as required by this Order, even if inadvertent, waives any protection for deposition testimony. If
a party designates a document as Confidential Information after it was initially produced, the
receiving party, on notification of the designation, must make a reasonable effort to assure that
the document is treated in accordance with the provisions of this Order. No party shall be found
to have violated this Order for failing to maintain the confidentiality of material during a time
when that material has not been designated Confidential Information, even where the failure to
so designate was inadvertent and where the material is subsequently designated Confidential

Information.
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7. Filing of Confidential Information. This Order does not, by itself, authorize the filing
of any document under seal. Any party wishing to file a document designated as Confidential
Information in connection with a motion, brief or other submission to the Court must comply
with Local Rule 26.2.

8. No Greater Protection of Specific Documents. Except on privilege grounds not
addressed by this Order, no party may withhold information from discovery on the ground that it
requires protection greater than that afforded by this Order unless the party moves for an order
providing such special protection.

9. Challenges by a Party to Designation as Confidential Information. The designation
of any material or document as Confidential Information is subject to challenge by any party.
The following procedure shall apply to any such challenge.

(a) Meet and Confer. A party challenging the designation of Confidential Information
must do so in good faith and must begin the process by conferring directly with counsel
for the designating party. In conferring, the challenging party must explain the basis for
its belief that the confidentiality designation was not proper and must give the
designating party an opportunity to review the designated material, to reconsider the
designation, and, if no change in designation is offered, to explain the basis for the
designation. The designating party must respond to the challenge within five (5S) business
days.

(b) Judicial Intervention. A party that elects to challenge a confidentiality designation

may file and serve a motion that identifies the challenged material and sets forth in detail

the basis for the challenge. Each such motion must be accompanied by a competent
declaration that affirms that the movant has complied with the meet and confer

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requirements of this procedure. The burden of persuasion in any such challenge

proceeding shall be on the designating party. Until the Court rules on the challenge, all

parties shall continue to treat the materials as Confidential Information under the terms of
this Order.

10. Action by the Court. Applications to the Court for an order relating to materials or
documents designated Confidential Information shall be by motion. Nothing in this Order or any
action or agreement of a party under this Order limits the Court’s power to make orders
concerning the disclosure of documents produced in discovery or at trial.

11. Use of Confidential Documents or Information at Trial. Nothing in this Order
shall be construed to affect the admissibility of any document, material, or information at any
trial or hearing. A party that intends to present or which anticipates that another party may
present Confidential information at a hearing or trial shall bring that issue to the Court's and
parties' attention by motion or in a pretrial memorandum without disclosing the Confidential
Information. The Court may thereafter make such orders as are necessary to govern the use of
such documents or information at trial.

12. Confidential Information Subpoenaed or Ordered Produced in Other
Litigation.

(a) If a receiving party is served with a subpoena or an order issued in other litigation
that would compel disclosure of any material or document designated in this action as
Confidential Information, the receiving party must so notify the designating party, in writing,
immediately and in no event more than three court days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.
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(b) The receiving party also must immediately inform in writing the party who caused the
subpoena or order to issue in the other litigation that some or all of the material covered by the
subpoena or order is the subject of this Order. In addition, the receiving party must deliver a
copy of this Order promptly to the party in the other action that caused the subpoena to issue.

(c) The purpose of imposing these duties is to alert the interested persons to the existence
of this Order and to afford the designating party in this case an opportunity to try to protect its
Confidential Information in the court from which the subpoena or order issued. The designating
parly shall bear the burden and the expense of seeking protection in that court of its Confidential
Information, and nothing in these provisions should be construed as authorizing a receiving party
in this action to disobey a lawful directive from another court. The obligations set forth in this
paragraph remain in effect while the party has in its possession, custody or control Confidential
Information by the other party to this case.

13. Challenges by Members of the Public to Sealing Orders. A party or interested
member of the public has a right to challenge the sealing of particular documents that have been
filed under seal, and the party asserting confidentiality will have the burden of demonstrating the
propriety of filing under seal.

14. Obligations on Conclusion of Litigation.

(a) Order Continues in Force. Unless otherwise agreed or ordered, this Order shall

remain in force after dismissal or entry of final judgment not subject to further appeal.

(b) Obligations at Conclusion of Litigation. Within sixty-three days after dismissal or

entry of final judgment not subject to further appeal, all Confidential Information and

documents marked "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" under
this Order, including copies as defined in §3(a), shall be returned to the producing party

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unless: (1) the document has been offered into evidence or filed without restriction as to

disclosure; (2) the parties agree to destruction in lieu of return; or (3) as to documents

bearing the notations, summations, or other mental impressions of the receiving party,
that party elects to destroy the documents and certifies to the producing party that it has
done so.

(c) Retention of Work Product and one set of Filed Documents. Notwithstanding the

above requirements to return or destroy documents, counsel may retain (1) attorney work

product, including an index which refers or relates to designated Confidential Information
so long as that work product does not duplicate verbatim substantial portions of

Confidential Information, and (2) one complete set of all documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to

be protected under this Order. An attorney may use his or her work product in subsequent
litigation provided that its use does not disclose or use Confidential Information.

(d) Deletion of Documents filed under Seal from Electronic Case Filing (ECF)

System. Filings under seal shall be deleted from the ECF system only upon order of the

Court.

15. Order Subject to Modification. This Order shall be subject to modification by the
Court on its own initiative or on motion of a party or any other person with standing concerning
the subject matter.

16. No Prior Judicial Determination. This Order is entered based on the representations
and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall
be construed or presented as a judicial determination that any document or material designated
Confidential Information by counselor the parties is entitled to protection under Rule 26(c) of the

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Federal Rules of Civil Procedure or otherwise until such time as the Court may rule on a specific
document or issue.

17. Persons Bound. This Order shall take effect when entered and shall be binding upon
all counsel of record and their law firms, the parties, and persons made subject to this Order by
its terms.

18. Public Release of Complaint Register Files. Any disciplinary actions, files and

attachments to such files generated by the investigation of deaths in custody, uses of deadly
force, and complaints of misconduct by Chicago police officers (generally referred to as “Log
Number” files, “Complaint Register” files, “Universal” files, or “Extraordinary Occurrence”
files; and hereinafter referred to as “CR Files”) shall be provided preliminary protection pursuant
to this Order, with their review and access limited only to the parties and their attorneys in this
case subject to the protections of this Order and shall not be released to any persons not involved
in this case, except upon written notice, 30 days prior, to the officer’s attorney(s) and to the City
of Chicago’s attorney, if different, to permit such attorneys and parties to provide a redacted
copy of the CR File, which will be produced without the designation “CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER.” This second copy will contain redactions of
information prohibited from disclosure by statute, including but not limited to the Illinois
Freedom of Information Act, 5 ILCS 140/1 et seq., the Illinois Personnel Records Review Act,
820 ILCS 40/.01 et seq., and the Juvenile Court Act, 705 ILCS 405/1-1 et seq.
Disclosure of CR Files and their attachments to any persons beyond the parties and their
attorneys in this case, or third parties otherwise authorized pursuant to Section 5 of this
Confidentiality Order, may be made only in the manner consistent with the redacted version of
such CR Files produced by the responding party as set forth above.

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If any disputes arise pursuant to the application of this provision, concerning the redactions of
the CR Files and their attachments, such unredacted document(s) produced pursuant to this
section, or information otherwise contained within the redactions as designated in the redacted
copy, Shall not be publicly released pursuant to this Section without a final determination by this
Court pursuant to the same terms provided for any Confidential Information designation under

this Confidentiality Order.

So Ordered.

Dated:

 

Hon. DANIELG. MARTIN
United States Magistrate Judge

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Attachment A

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
EDWARD HAMBRICK, )
) Case No. 13 C 4420
Plaintiff, )
vs. ) JUDGE MARTIN
)
The City of Chicago Police Department, )
Officer Marco Proano (Star # 9477), )
Officer Fernand Rodriguez (Star # 12986) )
Officer Guy Habiack (Star # 9921) )
Officer Johnson (Star # 17034) )
)
)

Defendants.
ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
The undersigned hereby acknowledges that he/she has read the Confidentiality Order

dated in the above-captioned action and attached hereto,

 

understands the terms thereof, and agrees to be bound by its terms. The undersigned submits to
the jurisdiction of the United States District Court for the Northern District of Illinois in matters
relating to the Confidentiality Order and understands that the terms of the Confidentiality Order
obligate him/her to use materials designated as Confidential Information in accordance with the
Order solely for the purposes of the above-captioned action, and not to disclose any such
Confidential Information to any other person, firm or concern.

The undersigned acknowledges that violation of the Confidentiality Order may result in

penalties for contempt of court.

Name:

 

Job Title:

 

Employer:

 

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Business Address:

 

 

 

Date:

 

Signature

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EXHIBIT B
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
EDWARD HAMBRICK,
Case No. 13 C 4420

Plaintiff,

vs. JUDGE MARTIN

The City of Chicago Police Department,
Officer Marco Proano (Star # 9477),
Officer Fernand Rodriguez (Star # 12986)
Officer Guy Habiack (Star # 9921)
Officer Johnson (Star # 17034)

Defendants.

QUALIFIED HIPAA AND MHDDCA PROTECTIVE ORDER
Pursuant to Fed.R.Civ.P. 26(c), the Health Insurance Portability and Accountability Act
of 1996 codified primarily at 18, 26 and 42 U.S.C., and 45 C.F.R. §§ 160 & 164, and 740 ILCS
110/1-17, the parties to this action, by and through their respective counsel, have represented the
following to the Court, and the Court finds:
A. The following words and terms are defined for purposes of this agreed, qualified
protective order:

1. “Parties” shall mean plaintiff, the City of Chicago, the individual
defendants, and any additional party that this court may subsequently recognize as subject to this
qualified protective order, and their attorneys.

2. "HIPAA" shall mean the Health Insurance Portability and Accountability
Act of 1996, codified primarily at 18, 26 and 42 U.S.C. (2002).

3. “MHDDCA” shall mean Mental Health and Developmental Disabilities
Confidentiality Act, 740 ILCS 110/1-17.

4. "Privacy Standards" shall mean the Standards for Privacy of Individually

Identifiable Health Information. See 45 C.F.R. §§ 160 & 164 (2000).
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5. "PHI" shall mean protected health information, as that term is used in
HIPAA and the Privacy Standards. “PHI” includes, but is not limited to, health information,
including demographic information, relating to either, (a) the past, present, or future physical or
mental condition of an individual; (b) the provision of care to an individual; or (c) the payment
for care provided to an individual, which identifies the individual or which reasonably could be

expected to identify the individual.

6. “Mental Health Communication” shall mean “communication” as that
term is defined in MHDDCA.
7. “Mental Health Record” shall mean “record” as that term is defined in

MHDDCA.

B. The Parties are familiar with HIPAA, MHDDCA, and the Privacy Standards.

C. The Parties recognize that it may be necessary during the course of this
proceeding to produce, disclose, receive, obtain, subpoena, and/or transmit PHI, Mental Health
Communications, and/or Mental Health Records of parties, third parties, and non-parties to other
parties, third parties and non-parties.

D. The Parties agree to the following terms and conditions:

1. The Parties agree to assist each other in the release of PHI, Mental Health
Communications, and/or Mental Health Records by waiving all notice requirements that would
otherwise be necessary under HIPAA, MHDDCA, and the Privacy Standards.

2. The Parties either seek or agree to the release of PHI, Mental Health
Communications, and/or Mental Health Records specifically for, but not limited to, the following
person, from the covered entity or entities identified in interrogatory answers, supplementary
disclosures, deposition testimony, or other discovery tools:

EDWARD HAMBRICK
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3. The Parties agree not to use or disclose the PHI, Mental Health
Communications, or Mental Health Records released in this proceeding for any other purpose or
in any other proceeding.

4. The Parties agree to store all PHI, Mental Health Communications, and/or
Mental Health Records while they are in their possession according to the Privacy Standards and
MHDDCA.

5. The Parties agree at the termination of this proceeding to return all PHI,
Mental Health Communications, and/or Mental Health Records obtained during the course of
this proceeding to the attorney representing the person whose PHI, Mental Health
Communications, and/or Mental Health Records were released during the course of this
proceeding, and/or to dispose of the PHI, Mental Health Communications, and/or Mental Health
Records released during the course of this proceeding pursuant to the Privacy Standards and

MHDDCA.

6. Nothing in this protective order shall be deemed a waiver of the right of
any party to object to a request for discovery on the basis of relevance, materiality, privilege,

overbreadth, or any other recognized objection to discovery.

 

ENTERED:

DATE:
